   Case 1:22-cr-00015-APM                   Document 194    Filed 07/16/22   Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

THE UNITED STATES OF AMERICA §
                             §
vs.                          §                             CAUSE NO.: 1:22-CR-15
                             §
ELMER STEWART RHODES, III    §


MOTION TO JOIN CALDWELL’S MOTION FOR CONTINUANCE , CHANGE
                  OF VENUE AND ADDENDUM

        COME NOW PHILLIP LINDER and JAMES LEE BRIGHT, attorneys for Elmer
Stewart Rhodes in the above referenced case number and join in with Caldwell’s Motion
for Change of Venue and Continuance filed by defendant Thomas Caldwell under Docket
# 193 on July 14, 2022, and add the following addendum:
                                                  I.
        Counsel for Mr. Rhodes would like to add additional claims as a further basis for
this Court to grant the requested Motion for Continuance. Since Rhodes’ incarceration in
January of 2022 he has been placed in three different detention facilities, each with a
different level of access for Rhodes to his discovery and his legal team. Since being placed
in the Alexandria Detention Facility in March of 2022, Rhodes has been virtually unable
to view the evidence that all of the other defendants have access to. Up until late June of
2022 Rhodes had no access to any of the digital discovery. Rhodes was only allowed paper
copies of what his Counsel could send him in the mail or deliver to him personally.
                                                  II.
        As the Court is aware, Rhodes was recently allowed to have a laptop with the
discovery in the jail. However, the jail only allows Rhodes to have access to this laptop
two hours per week. As the Court is also aware, there are several terabytes of discovery in
this case. At the current working arrangement with the Alexandria Detention Center
Rhodes would have only had approximately twenty hours of time to view the multiple
terabytes of evidence that the government has provided while the other defendants have
had virtually unlimited access to the evidence and the ability to process it with their
attorneys. His location and lack of access to the evidence continues to put him at a great
disadvantage as compared to the other co-defendants.


MOTION TO TRANSFER VENUE-CONTINUE- RHODES                                                  1
   Case 1:22-cr-00015-APM                   Document 194     Filed 07/16/22    Page 2 of 3




                                                    III.

        Additionally, during the January 6th Select Committee hearings on July 12, 2022,
the Committee through its members and witnesses, made several assertions connecting
the Oath Keeper defendants with the Proud Boys defendants in United States v. Nordean.
As the Court knows, the Nordean case was continued until December based in part upon
the negative publicity generated against the Proud Boys by the Select Committee. In that
Court’s opinion the Judge provided:

        “Given all the above, the Court finds that there is good cause to continue
        the trial of all Defendants until December 12, 2022, at least because of (1)
        the prejudicial publicity stemming from the ongoing congressional
        hearings and (2) the chaos that would be caused if, as the Government
        expects, the Committee releases a thousand potentially relevant interview
        transcripts to the public in early September, in the middle of the currently
        scheduled trial.”

        The Oath Keepers dispute that they worked in concert in any activities with the
Proud Boys. The Select Committee has prejudiced the jury pool by falsely connecting
these organizations. In addition, the Committee has also prejudiced the Oath Keepers by
calling them “racists and white nationalist groups that are dangerous extremists.”


Attached to this Motion is a complete copy of all Select Committee hearing transcripts.


        Finally, a major allegation against the Rhodes defendants involves 18 U.S.C.
Section 1512. Recently, the Government in United States v. Garrett Miller, 21-cr-00119
(CJN), filed an interlocutory appeal to the D.C. Circuit on the Section 1512 issue. A
continuance would allow additional time for a D.C. Circuit’s ruling on whether Section
1512 is applicable to the facts of the instant case.


        WHEREFORE, Counsel for ELMER STEWART RHODES pray that this Court
grant the Request for Continuance and continue this trial until After January 1, 2023.


                                                           RESPECTFULLY SUBMITTED,

                                                              /S/ PHILLIP A. LINDER
                                                           PHILLIP A. LINDER
MOTION TO TRANSFER VENUE-CONTINUE- RHODES                                                    2
   Case 1:22-cr-00015-APM                   Document 194    Filed 07/16/22    Page 3 of 3




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                                                              /S/ JAMES LEE BRIGHT
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                                                           ATTORNEYS FOR DEFENDANT



                             CERTIFICATE OF CONFERENCE

        I certify that I conferred with Kathryn Rakoczy, counsel for the government

regarding this Motion and that she does oppose.



                                                                 /S/ PHILLIP A. LINDER
                                                                 ATTORNEY FOR DEFENDANT


                                 CERTIFICATE OF SERVICE

             I certify that a true and correct copy of the attached pleading was served on the

Assistant United States Attorney Kathryn Rakoczy via ECF on July 16, 2022.


                                                                /S/ PHILLIP A. LINDER
                                                                 ATTORNEY FOR DEFENDANT




MOTION TO TRANSFER VENUE-CONTINUE- RHODES                                                   3
